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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al.,! ) Case No. 01-1139 KF)
) Jointly Administered
Debtors. )
)

EXHIBIT BOOK TO FIRST AMENDED JOINT PLAN
OF REORGANIZATION DATED FEBRUARY 27, 2009 AS MODIFIED THROUGH
MARCH 19, 2010

The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
hereby file this exhibit book (the “Exhibit Book”) in conjunction with the filing of the First
Amended Joint Plan of Reorganization under Chapter 11 of the Bankruptcy Code of W. R. Grace
& Co., et al., The Official Committee of Asbestos Personal Injury Claimants, the Asbestos PI
Future Claimants’ Representative, and the Official Committee Of Equity Security Holders Dated
as of February 27, 2009 (as it may be amended or supplemented, the “Plan”) and accompanying
disclosure statement (as it may be amended or supplemented, the “Disclosure Statement”). The
Exhibit Book contains the following documents:

Exhibit
Document Title No.
First Amended Joint Plan of Reorganization ..........ccccccccscssssssessseseecesssescessessscsssssstecevsceseceesaeanseataees I
Asbestos PI Trust Agreement .2.........ccccccccsssssscssescsseesscesessscencessscsesscsecssssvecsecsoavsceacsesevasscacataacatene 2

1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R.
Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace 11, Inc., Creative Food ‘N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I,
Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings,
Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B I Inc.,
Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G I Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal 11, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-
BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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Asbestos PD Trust Agreement..........:cecccccsccsesssesseseessssseesecseeeseeeeensesseaesaecesesseesseasesecsuseeessecsesesees 3
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